Dear Dr. Mallory:
In accordance with your request of April 17, 1978, we have reviewed the Missouri State Department of Elementary and Secondary Education's "Title I, ESEA, Annual Program Plan, Fiscal Year Ending September 30, 1979." This application for federal funds is being submitted under Title I of the Elementary and Secondary Education Act of 1965, P.L. 89-10, as amended.
In addition to the Elementary and Secondary Education Act of 1965, as amended, and the regulations propounded pursuant thereto (45 C.F.R. Parts 116 and 116a), our review has taken into consideration Article III, Section 38(a), Missouri Constitution, and Section 161.092, RSMo Supp. 1975.
Based on the foregoing, we hereby certify that the Missouri State Department of Elementary and Secondary Education has authority under state law to perform the duties and functions of a state educational agency under Title I of the Elementary and Secondary Education Act of 1965, as amended, and the regulations propounded pursuant thereto, including those arising from the assurances set forth in the application.
We understand that questions have been raised concerning the effect of the Missouri Supreme Court's decision in Mallory
v. Barrera, 544 S.W.2d 556 (Mo. banc 1976), on the ability of Missouri's state educational agency to enforce the comparability requirements of Title I and its implementing regulations. We do not believe this certification letter should address that issue since it involves the administrative interpretation of federal regulations, but raise it for consideration by the United States Office of Education.
In addition to this opinion letter which constitutes our official certification, we have executed the form of certification attached to the Annual Program Plan.
Very truly yours,
                                  JOHN ASHCROFT Attorney General